                         UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION - DETROIT

 In re:                                                       Chapter 11

 Heritage Collegiate Apparel, Inc.,                           Case No. 24-47922-tjt
 f/k/a M-Den, Inc., d/b/a The M Den.
                                                              Hon. Thomas J. Tucker
          Debtor.
                                                     /


            APPOINTMENT OF COMMITTEE OF UNSECURED CREDITORS
       Pursuant to § 1102(a) and (b) of the Bankruptcy Code, the following creditors of the above-
named debtor, being among those holding the largest unsecured claims (or who are members of a
committee organized by creditors prior to the order for relief under chapter 11 of the Bankruptcy
Code who were fairly chosen and are representative of the different kinds of claims to be
represented) and who are willing to serve, are appointed to the Committee of Unsecured Creditors:
 Kenneth Dotson                                   Noel Runge
 Alantes Corporate Finance, LLC.                  Nike Retail Services, Inc.
 234 5th Avenue, 2nd Floor                        One Bowerman Dr.
 New York, NY 10001                               Beaverton, OR 97005
 Phone: (646) 820-6085                            Phone: (503) 532-9918
 Email: kdotson@alantes.com                       Email: Noel.Runge@nike.com


 Linda Sinnett - CEO                              Ronald M. Tucker - V.P./ Counsel
 Branded Custom Sportwear, Inc.                   Simon Property Group, Inc.
 7007 College Blvd., Ste. 700                     225 W. Washington St.
 Overland Park, KS 66211                          Indianapolis, IN 46204
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                                                Respectfully submitted,

                                                ANDREW R. VARA
                                                UNITED STATES TRUSTEE
                                                Regions 3 and 9



                                        By       /s/ Kelley Callard
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                                                [P68537]

Dated: September 3, 2024




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